Case 1:18-cr-20682-CMA Document 107 Entered on FLSD Docket 03/23/2021 Page 1 of 1




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 18-20682-CR-ALTONAGA

  UNITED STATES OF AMERICA,

         Plaintiff,
  v.

  MATTHIAS KRULL,

        Defendant.
  ______________________________/

                                            ORDER

         THIS CAUSE came before the Court upon the Unopposed Motion to Unseal Amended

  Judgment – Docket Entry 94 [ECF No. 105]. Being fully advised, it is

         ORDERED AND ADJUDGED that the Motion is GRANTED. The Clerk is directed to

  UNSEAL Docket Entry 94.

         DONE AND ORDERED in Miami, Florida, this 23rd day of March, 2021.




                                                       _________________________________
                                                       CECILIA M. ALTONAGA
                                                       UNITED STATES DISTRICT JUDGE

  cc:    counsel of record
